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                                  10605




                 EXHIBIT 13
Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 2 of 7 Pageid#:
                                  10606

     D~1~a~ 1-l~p~e~
 I, [type your name here], am the sole accountholder for the Discord account associated with the
 username [insert] and the email address [fill in your email address here], from which I am
 sending thi~ email.
             v
    UJh~ ~- e~ — l~ow~e.~ Srt~c C~',~~ csr~ ~ ~ t ~c~

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3), I expressly consent to
 Discord producing all records and contents of communications associated with the account
 referenced above, including without limitation all messages and posts regardless of their privacy
 settings and all communications and messages that are presently active and that may be restored
 in the future.



 I understand and consent that Discord will disclose the records and contents to the legal team for
 Plaintiffs in the lawsuit Sines, et al. v. Kessler, et al., Case No. 3:17cv-00072, which is currently
 ongoing in the United States District Court for the Western District of Virginia. I understand and
 agree that Discord will not search, filter, or limit the records or content in any way before
 producing them. I understand that after disclosing the information, Discord cannot control how
 the records and content are used and whether the records and content are further disclosed, which
 may include being filed in the public record.



 I indemnify Discord, Inc., and its parents, subsidiaries, affiliates, officers, contractors, and
 employees against all claims for damages, compensation, and/or costs brought by any party with
 respect to- damage or loss caused by, or arising out of, or being incidental to the above-referenced
 disclosure of records or contents of communications. I release any claims I may have against
 Discord, Inc., or its parents, subsidiaries, affiliates, officers, and employees for damages,
 compensation, and/or costs with respect to damage or loss caused by, or arising out of, or being
 incidental to the above-referenced disclosure of records or contents of communications.




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Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 3 of 7 Pageid#:
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                        AUTHORIZATION AND CONSENT TO DISCLOSE DATA

  am the registered account holder and sole authorized user of the Twitter account associated
 with:
 @Username ~I/~',~✓G ~/~R~~, ~/~i~;~1~                                          and
 Email address,,C1i~ -R ~!ti~/•~livG%~a~7-'-~i~~^~..a.~~~wQ.~.2~~.~n.~,         (the
 "Account").

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter, Inc. ("Twitter") disclosing the following data associated with the Account,
 which are in the Account, or were preserved pursuant to the subpoenas) issued in [INSERT
 CASE NAME, CASE N0.] (the "Documents")
    • Tweets and associated media, dated between [DATE AND TIME] GMT/UTC and (DATE
        AND TIME] GMT/UTC; and
    • Direct messages, group direct messages, and associated media, dated between [DATE
        AND TIME] GMT/UTC and [DATE AND TIME] GMT/UTC.
    • [INSERT DESCRIPTION OF OTHER DATA REQUESTED]

  consent to Twitter delivering and divulging the      uments to:
 Recipient name        ,~.{ I U~f~~i~-     I~~.oc—      ~2,h ~t~
 Recipient email address:         1"1 ~3[,oc~Fl~                  l                      ~rt~ ~°   V~S ~ lf~L . Cc.1(V~-


 By completing this consent and authorization, I understand and agree that, subsequent to such
 disclosure, Twitter cannot control how the records and content are used and whether the
 records and content are further disclosed, including by filing in the public record.

   hereby release any claims I may have against Twitter and/or its parents, subsidiaries, affiliates,
 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the "Twitter Entities") with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




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 Printed name




 Signature



   f~l~~i~
 Date
Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 4 of 7 Pageid#:
                                  10608


                       AUTHORIZATION AND CONSENT TO DISCLOSE DATA

  am the registered account holder and sole authorized user of the Twitter account associated
 with:                n             ~          ~
 @Username _         ~"Irer~~un ~                                               and
 Email address                                                                  (the
 "Account").

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter International Company ("Twitter") disclosing the following data associated
 with the Account, which are in the Account, or were preserved pursuant to the subpoenas)
 issued in [INSERT CASE NAME, CASE NO.] (the "Documents"):
     • Tweets and associated media, dated between [DATE AND TIME] GMT/UTC and [DATE
         AND TIME] GMT/UTC; and
     • Direct messages, group direct messages, and associated media, dated between [DATE
         AND TIME] GMT/UTC and [DATE AND TIME] GMT/UTC.
     • [INSERT DESCRIPTION OF OTHER DATA REQUESTED]

  consent to Twitter delivering and divulging the Docu      ~iAs to:
 Recipient name            c.r~-K4C,    d3c~~►1'             1"~~-~ ~ r`^'
 Recipient email address:          c,~L                      ~e~~er C                ILk~m~IC~S~ n~ • ~~

 By completing this consent and authorization, I understand and agree that, subsequent to such
 disclosure, Twitter cannot control how the records and content are used and whether the
 records and content are further disclosed, including by filing in the public record.

   hereby release any claims I may have against Twitter and/or its parents, subsidiaries, affiliates,
 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the "Twitter Entities") with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




 Printed name




 Signature




 Date
Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 5 of 7 Pageid#:
                                  10609


                       AUTHORIZATION AND CONSENT TO DISCLOSE DATA

  am the registered account holder and sole authorized user of the Twitter account associated
 with:            /~
 @Username         ( '- , UGC ~}MaG~~~-~ Ali                                         and
 Email address                                                                       (the
 "Account").

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter, Inc. ("Twitter")disclosing the following data associated with the Account,
 which are in the Account, or were preserved pursuant to the subpoenas) issued in [INSERT
 CASE NAME, CASE N0.] (the "Documents"):
    • Tweets and associated media, dated between [DATE AND TIME] GMT/UTC and [DATE
        AND TIME] GMT/UTC; and
    • Direct messages, group direct messages, and associated media, dated between [DATE
        AND TIME] GMT/UTC and [DATE AND TIME] GMT/UTC.
    • [INSERT DESCRIPTION OF OTHER DATA REQUESTED]

  consent to Twitter delivering and divulging the Documents to:
 Recipient name        ~ (GI-F A4C~      B(~o c-t~+'       ~ei'~ ~~'M
 Recipient email address:                t~             n ~n~c.-tr~~ .            ~~CJi+`n~ ~~ ( nL •~~~

 By completing this consent and authorization, I understand and agree that, subsequent to such
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 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the "Twitter Entities") with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




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 Printed name


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 Date
Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 6 of 7 Pageid#:
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                       AUTHORIZATION AND CONSENT TO DISCLOSE DATA

  am the registered account holder and sole authorized user of the Twitter account associated
 with:
 @Username               U                                                      and
 Email address                                                                  (the
 "Account").

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter International Company ("Twitter') disclosing the following data associated
 with the Account, which are in the Account, or were preserved pursuant to the subpoenas)
 issued in [INSERT CASE NAME, CASE NO.] (the "Documents"):
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         AND TIME] GMT/UTC; and
     • Direct messages, group direct messages, and associated media, dated between [DATE
         AND TIME] GMT/UTC and [DATE AND TIME] GMT/UTC.
     • [INSERT DESCRIPTION OF OTHER DATA REQUESTED]

  consent to Twitter delivering and divulging the Documents to:
 Recipient name          rG►~h -       B~~M-               —en ~~
 Recipient email address:    M C3~o c.~~           ir,~r~ h~~-k-el , ce .,.r      ~~C.I M~IvS ~ n C - Ct~"`

 By completing this consent and authorization, I understand and agree that, subsequent to such
 disclosure, Twitter cannot control how the records and content are used and whether the
 records and content are further disclosed, including by filing in the public record.

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 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the "Twitter Entities") with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




 i~'r'/~, j-~~
 Printed name




 Signature



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 Date
Case 3:17-cv-00072-NKM-JCH Document 713-13 Filed 04/23/20 Page 7 of 7 Pageid#:
                                  10611


                        AUTHORIZATION AND CONSENT TO DISCLOSE DATA

  am the registered account holder and sole authorized user of the Twitter account associated
 with:
 @Username         ~~~b u/~R ~ ~t~(                                             and
 Email address                                                                  (the
 "Account").

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter, Inc. ("Twitter") disclosing the following data associated with the Account,
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 CASE NAME, CASE NO.] (the "Documents"):
    • Tweets and associated media, dated between [DATE AND TIME] GMT/UTC and [DATE
        AND TIME] GMT/UTC; and
    • Direct messages, group direct messages, and associated media, dated between [DATE
        AND TIME] GMT/UTC and [DATE AND TIME] GMT/UTC.
    • [INSERT DESCRIPTION OF OTHER DATA REQUESTED]

  consent to Twitter delivering and divulging the      uments to:
 Recipient name      l~(G~tr~t, ~i toc-rt                  ~~h ~~~
 Recipient email address:    M ~3~oL~~ ~ ~             ~te'~ hcc.Ke~ . Go e~
                                                                                   ~;~e~~S~~~ . ~s~~

 By completing this consent and authorization, I understand and agree that, subsequent to such
 disclosure, Twitter cannot control how the records and content are used and whether the
 records and content are further disclosed, including by filing in the public record.

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 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the "Twitter Entities")with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




 l.'~. 11~,- l~~o~ ~~
 Printed name




 Signature


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 Date
